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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION


 Twanda Marshinda Brown, et al.,

                        Plaintiffs,                                Civil Action No.
                                                                 3:17-cv-01426-SAL
        v.

 Lexington County, South Carolina,

                        Defendant.


 ORDER GRANTING JOINT MOTION FOR FINAL APPROVAL OF CLASS ACTION
                          SETTLEMENT

   This matter comes before the court on the parties’ Joint Motion for Final Approval of Class

Action Settlement, ECF No. 363. On February 14, 2023, this court granted the parties’ Joint

Motion for Preliminary Approval of Class Action Settlement (Preliminary Order). [ECF No. 360.]

The Preliminary Order granted preliminary approval of a proposed Class Action Settlement

Agreement between Plaintiffs Xavier Larry Goodwin and Raymond Wright, Jr., acting both

individually and in their capacity as representatives of the certified Class, and Defendant

Lexington County. [ECF No. 348-2.]

   The court convened a final fairness hearing on March 2, 2023, at the Matthew J. Perry

Courthouse in Columbia, South Carolina. Present at the hearing were Ms. Olga Akselrod of the

American Civil Liberties Union, Mr. Allen Chaney of the ACLU of South Carolina, Messrs. Toby

Marshall and Eric Nusser, both of Terrel Mashall Law Group, PLLC, all for Plaintiffs, and Messrs.

Kenneth Woodington and William Davidson, II, of Davidson, Wren, and DeMasters PA for

Defendant. Having read and considered the documents, papers, and evidence submitted in this
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matter and having conducted a hearing on the matters set forth below, the court now finds the

settlement is fair and reasonable and orders as follows.

                                             FINDINGS

   “A court must approve a class action settlement because the rights of absent class members are

being compromised.” William B. Rubenstein, 4 Newberg and Rubenstein on Class Actions §13.10

(6th ed. 2022) (citation omitted). The claims of a certified class can be settled with the court’s

approval “only after a hearing and only on finding that [the settlement] is fair, reasonable, and

adequate.” Fed. R. Civ. P. 23(e)(2). “The primary concern addressed by Rule 23(e) is the protection

of class members whose rights may not have been given adequate consideration during the

settlement negotiations.” In re Jiffy Lube Sec. Litig., 927 F.2d 155, 158 (4th Cir. 1991).

   Courts typically employ a three-step process for approving class action settlements: (1)

preliminary approval; (2) notice and an opportunity to object to the settlement; and (3) final

approval. Rubenstein, 4 Newberg and Rubenstein on Class Actions §13.39. Steps one and two have

been completed, ECF No. 360, and final approval is now ripe for the court’s consideration.

   Rule 23(e)(2) provides that if a proposed settlement “would bind class members, the court may

approve it only after a hearing and only on finding that it is fair, reasonable, and adequate after

considering whether”

   (A) the class representatives and class counsel have adequately represented the class;
   (B) the proposal was negotiated at arm’s length;
   (C) the relief provided for the class is adequate, taking into account:
           (i) the costs, risks, and delay of trial and appeal;
           (ii) the effectiveness of any proposed method of distributing relief to the class,
           including the method of processing class-member claims;
           (iii) the terms of any proposed award of attorneys’ fees, including timing of payment;
           and
           (iv) any agreement required to be identified under Rule 23(e)(3); and
   (D) the proposal treats class members equitably relative to each other.


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    Fed. R. Civ. P. 23(e)(2). See also In re Lumber Liquidators Chine-Manufactured Flooring

Prods. Mktg., Sales Practices & Prods. Liab. Litig., 952 F.3d 471, 484 (4th Cir. 2020) (noting the

test used in the Fourth Circuit prior to the 2018 Amendment to Rule 23 to evaluate fairness,

reasonableness, and adequacy of a settlement almost completely overlaps with the current Rule

23(e)(2) factors).

    I.       Class Counsel and Class Plaintiffs Have Adequately Represented the Class

    As noted in the Preliminary Order, the court already certified a Class in this case. [ECF No.

227.] The Settlement is on behalf of that certified Class, defined as “All indigent people who

currently owe, or in the future will owe, fines, fees, court costs, assessments, or restitution in cases

handled by Lexington County magistrate courts.” [ECF No. 360 at 1; ECF No. 348-2 at 2

(Settlement Agreement); see also ECF No. 227 at 2 (defining Proposed Class); id. at 22 (certifying

Proposed Class).] The court has now twice determined that Plaintiffs and their counsel have been

adequate representatives of the Class. [See ECF No. 227 at 19-20 (finding adequacy at class

certification); ECF No. 360 at 2 (finding at preliminary approval that “Plaintiffs and their counsel

have vigorously and adequately represented the Class”)]. The court finds this remains true.

    II.      The Settlement is Fair

    When evaluating the fairness of a settlement, the court must evaluate the settlement against

these criteria: “(1) the posture of the case at the time settlement was proposed, (2) the extent of

discovery that had been conducted, (3) the circumstances surrounding the negotiations, and (4) the

experience of counsel.” In re Jiffy Lube, 927 F.2d at 159. The fairness inquiry ensures that “the

settlement was reached as a result of good-faith bargaining at arm’s length, without collusion.” Id.

Courts have found that, where a settlement results from genuine arm’s-length negotiations, there




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is a presumption that it is fair. See, e.g., City P’ship Co. v. Atlantic Acquisition Ltd. P’Ship, 100

F.3d 1041, 1043 (1st Cir. 1996).

   At preliminary approval, the court applied these factors and found that the Settlement is fair.

[See ECF No. 360 at 2 (noting “arm’s-length negotiations before experienced mediator and former

Chief Justice of South Carolina Costa M. Pleicones” and that the parties were “well-informed” at

settlement because “discovery was complete” and “the parties’ and their counsel’s support for the

Settlement weighs in favor of approval”)]. Throughout the litigation and the settlement process,

both sides were represented by experienced counsel who vigorously prosecuted the case and were

prepared to go to trial. Thus, the Settlement is procedurally fair.

   III.    The Settlement Terms are Adequate and Reasonable

   In assessing the adequacy of the Settlement, the court should look to these factors: “(1) the

relative strength of the plaintiffs’ case on the merits, (2) the existence of any difficulties of proof

or strong defenses the plaintiffs are likely to encounter if the case goes to trial, (3) the anticipated

duration and expense of additional litigation, (4) the solvency of the defendants and the likelihood

of recovery on a litigated judgment, and (5) the degree of opposition to the settlement.” In re Jiffy

Lube, 927 F.2d at 159.

   Considering factors one through four, the court finds the Settlement is adequate and should be

approved. The court previously addressed these factors in the Preliminary Order. [See ECF No.

360 at 2 (“Both parties faced risks by continuing to litigate, including the risk of an adverse ruling,

the ongoing expense of litigation, and the likelihood of appeal by the losing party following trial

court resolution of the case.”)].

   At the time of the hearing, neither party nor the court had received an objection to the

Preliminary Order. Nearly a week has passed, and no opposition to settlement has been received



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by the court. Thus, factor five also supports finding that the settlement terms are adequate and

reasonable.

   IV.     The Settlement Treats Class Members Equitably

   As previously noted in the Preliminary Order, the court finds all members of the Class are

treated equally by the Settlement. [See ECF No. 60 at 3. “There is no monetary recovery for Class

members, nor any request for service awards by the named Plaintiffs. Thus, all members of the

Class will receive the same prospective relief as part of the Settlement.” Id.]

   V.      The Notice Program Was Adequate

   The court finds notice by publication was the best notice practicable under the circumstances.

[See ECF No. 360 at 3 (“The court finds that, under the circumstances, publication notice is the

preferred form of notice for reaching the largest number of members of the Class and providing

them with an opportunity to object to the Settlement or otherwise voice their opinion about it.”).]

This was accomplished through three separate postings in a paper of wide circulation in the area.

[See id. (providing instructions regarding notice plan); ECF No. 363-1 at 2 (declaration of Attorney

Chaney stating notice was published in The State on February 16, 2023, February 19, 2023, and

February 21, 2023); ECF No. 363-1 at 2 (order confirmation from The State re: legal ads).]

Although there was a slight mistake in the notice as to the objection deadline, the parties agreed

that any objections, regardless of their postmark date, would be considered and addressed at the

final approval hearing. The notice informed parties that the fairness hearing was open to the public,

but no class members attended. As of the filing of this Order, no objections have been received.

   VI.     The Terms of the Attorneys’ Fees and Costs Provision Does Not Prejudice Class
           Members

   Rule 23 of the Federal Rules of Civil Procedure requires this court consider the terms of any

proposed award of attorneys’ fees in determining whether the settlement is fair and reasonable.

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The agreement states “Plaintiffs shall submit a request for attorneys’ fees and costs to the [c]ourt

no later than forty-five (45) days after the execution of this Settlement Agreement, and the [c]ourt

shall resolve such request. Lexington County retains its right to object to the amount of fees and

costs but agrees that it shall not, at any stage, dispute that Plaintiffs are eligible to receive fees and

costs under 42 U.S.C. § 1988.” The court finds this proposal is adequate and does not weigh against

finding the agreement is fair and reasonable to class members.

    The parties briefed the issue of attorneys’ fees separately and made arguments before the court

immediately after the fairness hearing in this matter. Although the parties dispute the amount of

attorneys’ fees, both sides seek final approval of the settlement and wish to have the attorneys’

fees issue resolved by the court in a later Order. There is no dispute Plaintiffs are entitled to

reasonable attorneys’ fees under 42 U.S.C. § 1988. The court finds this provision of the agreement

adequately addresses the attorneys’ fees issue and does not prevent the court from finding the

agreement is fair and reasonable.

                                 FINAL SETTLEMENT APPROVAL

    In consideration of the findings set forth above, it is hereby Adjudged, Ordered, and Decreed:

    1. This court has jurisdiction over the subject matter of the action, and all matters relating to

        the settlement, as well as personal jurisdiction over all parties and each of the settlement

        class members.

    2. The Settlement Agreement, ECF No. 348-2, is incorporated by reference in this Order.

    3. This courts approves the Settlement Agreement as fair, adequate, and reasonable, and

        consistent and in compliance with the applicable provisions of the law; directs the Parties

        and their counsel to implement and consummate this Settlement Agreement according to

        its terms and provisions; and declares this Settlement Agreement to be binding on, and



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      have res judicata effect in all pending and future lawsuits or other proceedings

      encompassed by the Release set forth in Section III of this Settlement Agreement.

   4. Claims Two and Five are dismissed on the merits and with prejudice with respect to

      Lexington County, without fees or costs to any Party except as provided in the Settlement

      Agreement.

   5. Notice given to the Class was reasonably calculated under the circumstances to apprise

      Class Members of all material elements of the settlement and their opportunity to object to

      or comment on the settlement and to appear at the fairness hearing. Notice by publication

      was the best notice practicable under the circumstances and complied fully with the Federal

      Rules of Civil Procedure and the U.S. Constitution, as well as any other applicable court

      rules. Accordingly, the court determines all class members are bound by the judgment.

   6. All Class Members have released and forever discharge the settled claims. All Class

      Members are permanently barred and permanently enjoined from asserting or prosecuting

      the settled claims.

   7. Without affecting the finality of this Order for the purposes of appeal, this court retains

      jurisdiction as to all matters relating to administration, consummation, interpretation, and

      enforcement of this Settlement Agreement and this Order, and for any other necessary

      purpose.

   8. The issue of attorneys’ fees shall be addressed in a separate, subsequent Order.


IT IS SO ORDERED.

                                            s/ Sherri A. Lydon
                                            Sherri A. Lydon
                                            United States District Judge
March 9, 2023
Columbia, South Carolina

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